5/24/23, 10:11Case
              AM   23-05009           Doc 1-5            Filed 05/24/23    Entered
                                                                     Case Detail        05/24/23 11:28:27
                                                                                 - FST-CV18-6036479-S                                    Page 1 of 5




                                        FST-CV18-6036479- WILMINGTON TRUST, NATIONAL ASSOCIATION, NOT IN ITS v. KRISHNA, SUNEETA
 Superior Court Case Look-up          S                     P, AKA SUNEETA PRASAD AKA SUNEETA Et Al
  Civil/Family
  Housing                             Prefix/Suffix: [none] Case Type: P00    File Date: 05/11/2018 Return Date: 05/29/2018
  Small Claims                        Case Detail   Notices History           Scheduled Court Dates         E-Services Login        Screen Section Help
 -
 Attorney/Firm Juris Number Look-up   Pending Foreclosure Sales                                 To receive an email when there is activity on this case, click here.
 -
 Case Look-up
  By Party Name
  By Docket Number
  By Attorney/Firm Juris Number        Information Updated as of: 05/24/2023
  By Property Address                                                                           Case Information
 -
 Short Calendar Look-up                                   Case Type:     P00 - Property - Foreclosure
  By Court Location                                  Court Location:     STAMFORD JD
  By Attorney/Firm Juris Number                    Property Address:     1769 Oenoke Ridge, A/k/a 369 Pinney Road, New Canaan, CT 06840
  Motion to Seal or Close                                   List Type:   No List Type
  Calendar Notices
 -                                                   Trial List Claim:
 Court Events Look-up                               Last Action Date:    05/09/2023 (The "last action date" is the date the information was entered in the system)
  By Date
  By Docket Number
                                                                                            Disposition Information
  By Attorney/Firm Juris Number
 -                                                  Disposition Date:
 Legal Notices                                          Disposition:
 -
 Pending Foreclosure Sales                      Judge or Magistrate:
 -
 Understanding
 Display of Case Information                                                           Party & Appearance Information
 -                                                                                                                                                          No
 Contact Us                            Party                                                                                                                Fee    Category
                                                                                                                                                           Party
                                       P-01 WILMINGTON TRUST, NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY, BUT                                              Plaintiff
                                            SOLELY AS TRUSTEE FOR VM TRUST SERIES 3, A DELAWARE STATUTORY TRUST
                                            Non-Appearing
                                       P-02 U.S. BANK TRUST NATIONAL ASSOCIATION AS TRUSTEE OF THE LODGE SERIES III                                                 Plaintiff -
                                            TRUST                                                                                                                  Substituted
                                             Attorney:   KEITH KEATING FULLER (416953)               File Date: 08/25/2022
              Comments                                 5300 BIGELOW COMMONS
                                                       ENFIELD, CT 06082
                                       D-01 SUNEETA P KRISHNA AKA SUNEETA PRASAD AKA SUNEETA PRASAD KRISHNA AKA                                                    Defendant
                                            SUNEETA KRISHNA
                                            Attorney:   SARAH PORISS ATTORNEY AT LAW LLC (437582) File Date: 02/21/2023
                                                      777 FARMINGTON AVENUE
                                                      1ST FLOOR
                                                      WEST HARTFORD, CT 06119
                                       D-02 JAYARDMAN KRISHNA AKA JAYARAMAN KRISHNA AKA KRIS JAYARAMAN                                                             Defendant
                                            Non-Appearing
                                       D-03 BANK OF AMERICA NA FKA FLEET NATIONAL BANK                                                                             Defendant
                                            Attorney:   MARINOSCI LAW GROUP PC (431033)                                        File Date: 05/31/2018
                                                      275 WEST NATICK ROAD
                                                      SUITE 500
                                                      WARWICK, RI 02886
                                       D-04 WELLS FARGO BANK, NATIONAL ASSOCIATION FKA FIRST UNION NATIONAL BANK                                                   Defendant
                                            Non-Appearing
                                       D-05 PORTFOLIO RECOVERY ASSOCIATES, LLC                                                                                     Defendant
                                            Non-Appearing
                                       D-06 PORSCHE LEASING LTD., DBA BENTLEY FINANCIAL SERVICES                                                                   Defendant
                                            Attorney:   O'SULLIVAN MCCORMACK JENSEN & BLISS PC (407344) File Date: 07/10/2018
                                                      180 GLASTONBURY BLVD
                                                      SUITE 210
                                                      GLASTONBURY, CT 06033
                                       D-07 STATE OF CONNECTICUT DEPARTMENT OF REVENUE SERVICES                                                                    Defendant
                                            Non-Appearing


                                        Viewing Documents on Civil, Housing and Small Claims Cases:

                                        If there is an   in front of the docket number at the top of this page, then the file is electronic (paperless).


                                                Documents, court orders and judicial notices in electronic (paperless) civil, housing and small claims cases
                                                with a return date on or after January 1, 2014 are available publicly over the internet.* For more information on

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=FSTCV186036479S                                                                                    1/5
5/24/23, 10:11Case
              AM   23-05009           Doc 1-5          Filed 05/24/23    Entered
                                                                   Case Detail        05/24/23 11:28:27
                                                                               - FST-CV18-6036479-S                                     Page 2 of 5
                                               what you can view in all cases, view the Electronic Access to Court Documents Quick Card.

                                               For civil cases filed prior to 2014, court orders and judicial notices that are electronic are available publicly over
                                               the internet. Orders can be viewed by selecting the link to the order from the list below. Notices can be viewed
                                               by clicking the Notices tab above and selecting the link.*

                                               Documents, court orders and judicial notices in an electronic (paperless) file can be viewed at any judicial
                                               district courthouse during normal business hours.*

                                               Pleadings or other documents that are not electronic (paperless) can be viewed only during normal business
                                               hours at the Clerk’s Office in the Judicial District where the case is located.*

                                               An Affidavit of Debt is not available publicly over the internet on small claims cases filed before October 16,
                                               2017.*

                                        *Any documents protected by law Or by court order that are Not open to the public cannot be viewed by the public
                                        online And can only be viewed in person at the clerk’s office where the file is located by those authorized by law or
                                        court order to see them.

                                                                             Motions / Pleadings / Documents / Case Status
                                       Entry                 Filed
                                                File Date          Description                                                                                  Arguable
                                       No                     By
                                                05/11/2018      P SUMMONS

                                                05/11/2018      P COMPLAINT

                                                05/11/2018      P ADDITIONAL PARTIES PAGE

                                                05/31/2018      D APPEARANCE
                                                                   Appearance
                                                07/10/2018      D APPEARANCE
                                                                   Appearance
                                                07/19/2018          APPEARANCE
                                                07/20/2018          APPEARANCE
                                                                     suneeta krishna
                                                07/23/2018      D APPEARANCE
                                                                   Appearance
                                                12/24/2018      D APPEARANCE
                                                                   Appearance
                                                03/13/2019      P APPEARANCE
                                                                   Appearance
                                                09/24/2021      P APPEARANCE
                                                                   Appearance
                                                12/02/2021      P APPEARANCE
                                                                   Appearance
                                                08/25/2022      P APPEARANCE
                                                                   Appearance
                                                02/21/2023      D APPEARANCE
                                                                   Appearance
                                                02/22/2023      D APPEARANCE
                                                                   Appearance
                                       100.30 05/11/2018        P RETURN OF SERVICE                                                                                No

                                       101.00 05/15/2018        C FORECLOSURE MEDIATION – ELIGIBLE CASE (NO DOCUMENT)                                              No
                                       102.00 05/15/2018        P FORECLOSURE MEDIATION PLAINTIFF’S COMPLIANCE WITH SERVICE (NO                                    No
                                                                  DOCUMENT)
                                       103.00 05/15/2018        C FORECLOSURE MEDIATION-COMPLIANCE WITH P.A.09-209 (NO DOCUMENT)                                   No
                                                                  SEE FORM# JD-CV-109
                                       104.00 06/13/2018        C FORECLOSURE MEDIATION TIME PERIOD EXPIRED                                                        No
                                       105.00 07/11/2018        P MOTION FOR DEFAULT -FAILURE TO APPEAR PB 17-20                                                   No
                                                                   RESULT: Granted 7/18/2018 BY THE CLERK
                                       105.01 07/18/2018        C ORDER                                                                                            No
                                                                   RESULT: Granted 7/18/2018 BY THE CLERK
                                                                  Watermark
                                       105.02 07/18/2018        C ORDER                                                                                            No
                                                                   RESULT: Granted 7/18/2018 BY THE CLERK
                                       106.00 07/11/2018        P MOTION FOR DEFAULT-FAILURE TO PLEAD                                                              No
                                                                   RESULT: Granted 7/18/2018 BY THE CLERK


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=FSTCV186036479S                                                                               2/5
5/24/23, 10:11Case
              AM   23-05009           Doc 1-5        Filed 05/24/23    Entered
                                                                 Case Detail        05/24/23 11:28:27
                                                                             - FST-CV18-6036479-S                              Page 3 of 5
                                       106.01 07/18/2018    C ORDER                                                                                 No
                                                               RESULT: Granted 7/18/2018 BY THE CLERK
                                       107.00 07/11/2018    P MOTION FOR JUDGMENT-STRICT FORECLOSURE                                                Yes
                                                               RESULT: Off 7/23/2018 HON ROBERT GENUARIO
                                       107.01 07/23/2018    C ORDER                                                                                 No
                                                               RESULT: Off 7/23/2018 HON ROBERT GENUARIO
                                       108.00 07/11/2018    P APPRAISAL                                                                             No

                                       109.00 07/19/2018    P FORECLOSURE WORKSHEET JD-CV-77                                                        No

                                       110.00 07/19/2018    P AFFIDAVIT OF COMPLIANCE WITH EMAP                                                     No

                                       111.00 07/19/2018    P MILITARY AFFIDAVIT                                                                    No

                                       112.00 07/19/2018    P AFFIDAVIT OF DEBT                                                                     No

                                       113.00 07/19/2018    P AFFIDAVIT RE: ATTORNEY/COUNSEL FEES                                                   No

                                       114.00 07/23/2018    D FORECLOSURE MEDIATION - MOTION FOR MODIFICATION OF MEDIATION                          No
                                                              PERIODJD-CV-96
                                                               Motion for Permission to Request Mediation Later than 15 Days After Return Day
                                       115.00 07/23/2018    D FORECLOSURE MEDIATION REQUEST/CERTIFICATE JD-CV-108                                   No
                                                               Certificate of Mediation Filed with Motion for Permission to Extend Period to File
                                       116.00 07/24/2018    P MOTION FOR DEFAULT-FAILURE TO PLEAD                                                   No
                                                               RESULT: Denied 8/24/2018 BY THE CLERK
                                       116.01 08/24/2018    C ORDER                                                                                 No
                                                               RESULT: Denied 8/24/2018 BY THE CLERK
                                       117.00 07/20/2018    D FORECLOSURE MEDIATION REQUEST/CERTIFICATE JD-CV-108                                   No

                                       118.00 07/20/2018    D PETITION TO PARTICIPATE IN MEDIATION PROCESS BY AGGRIEVED                             No
                                                              PERSON JD-CV-96
                                                               RESULT: Granted 8/7/2018 HON A MOTTOLESE
                                       118.01 08/07/2018    C ORDER                                                                                 No
                                                               RESULT: Granted 8/7/2018 HON A MOTTOLESE
                                       119.00 07/26/2018    D OBJECTION TO MOTION FOR DEFAULT                                                       No
                                                               Objection to Motion for Default for Failure to Plead (Entry No. 116.00)
                                                               RESULT: Sustained 8/22/2018 HON CHARLES LEE
                                       119.01 08/22/2018    C ORDER                                                                                 No
                                                               RESULT: Sustained 8/22/2018 HON CHARLES LEE
                                       120.00 07/26/2018    D MOTION FOR EXTENSION OF TIME TO PLEAD                                                 No
                                                               RESULT: Granted 8/22/2018 HON CHARLES LEE
                                       120.01 08/22/2018    C ORDER                                                                                 No
                                                               RESULT: Granted 8/22/2018 HON CHARLES LEE
                                       121.00 08/02/2018    P OBJECTION TO MOTION                                                                   No
                                                               For Inclusion in Mediation
                                                               RESULT: Overruled 8/7/2018 HON A MOTTOLESE
                                       121.01 08/07/2018    C ORDER                                                                                 No
                                                               RESULT: Overruled 8/7/2018 HON A MOTTOLESE
                                       122.00 10/24/2018    D FORECLOSURE MEDIATION - MEDIATION SPECIALIST'S MOTION TO EXTEND                       No
                                                              PREMEDIATION PERIOD
                                                               RESULT: Granted 11/19/2018 HON ROBERT GENUARIO
                                       122.01 11/19/2018    C ORDER                                                                                 No
                                                               RESULT: Granted 11/19/2018 HON ROBERT GENUARIO
                                       123.00 01/28/2019    D REQUEST TO REVISE                                                                     No

                                       124.00 01/31/2019    C FORECLOSURE MEDIATOR'S FINAL REPORT - MEDIATION PERIOD                                No
                                                              TERMINATED
                                       125.00 03/13/2019    P MOTION FOR EXTENSION OF TIME                                                          No
                                                               Motion for Extension of Time to Respond to Defendant's Request to Revise
                                                               RESULT: Denied 3/25/2019 HON ROBERT GENUARIO
                                       125.01 03/25/2019    C ORDER                                                                                 No
                                                               RESULT: Denied 3/25/2019 HON ROBERT GENUARIO
                                       126.00 03/21/2019    D OBJECTION TO MOTION FOR EXTENSION OF TIME                                             No
                                                               Objection to Motion 125.00
                                                               RESULT: Sustained 3/25/2019 HON ROBERT GENUARIO
                                       126.01 03/25/2019    C ORDER                                                                                 No
                                                               RESULT: Sustained 3/25/2019 HON ROBERT GENUARIO


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=FSTCV186036479S                                                                 3/5
5/24/23, 10:11Case
              AM   23-05009           Doc 1-5        Filed 05/24/23    Entered
                                                                 Case Detail        05/24/23 11:28:27
                                                                             - FST-CV18-6036479-S                             Page 4 of 5
                                       127.00 08/09/2019     P AMENDED COMPLAINT                                                                   No

                                       128.00 08/26/2019     D ANSWER                                                                              No

                                       129.00 09/20/2019     P DEMAND FOR DISCLOSURE OF DEFENSE PB 13-19                                           No

                                       130.00 09/30/2019     D DISCLOSURE OF DEFENSE                                                               No

                                       131.00 10/28/2021     P MOTION TO SUBSTITUTE PARTY                                                          No
                                                                RESULT: Granted 11/29/2021 HON JOHN KAVANEWSKY
                                       131.01 11/29/2021     C ORDER                                                                               No
                                                                RESULT: Granted 11/29/2021 HON JOHN KAVANEWSKY
                                       132.00 11/17/2021     P MOTION FOR SUMMARY JUDGMENT                                                        Yes

                                       133.00 11/17/2021     P MEMORANDUM IN SUPPORT OF MOTION                                                     No
                                                                Memorandum of Law in Support of Plaintiff's Motion for Summary Judgment
                                       134.00 11/17/2021     P AFFIDAVIT                                                                           No
                                                                Affidavit in Support of Plaintiff's Motion for Summary Judgment
                                       135.00 12/13/2021     D MOTION FOR EXTENSION OF TIME                                                        No
                                                                Motion to Extend Time to Respond to Motion for Summary Judgment
                                                                RESULT: Granted 12/28/2021 HON KEVIN TIERNEY
                                       135.01 12/28/2021     C ORDER                                                                               No
                                                                RESULT: Granted 12/28/2021 HON KEVIN TIERNEY
                                       136.00 12/23/2021     D MOTION FOR EXTENSION OF TIME                                                        No
                                                                SUPPLEMENT TO MOTION FOR EXTENSION OF TIME #135.00 which was filed
                                                               12/11/21
                                       137.00 01/09/2023     D MOTION FOR PERMISSION TO WITHDRAW APPEARANCE                                       Yes
                                                                RE: Defendants Suneeta P Krishna aka etc. and Jarardman Krishna aka etc.
                                                                RESULT: Granted 2/6/2023 HON EDWARD KRUMEICH
                                       137.01 01/18/2023     C NOTICE                                                                              No

                                       137.02 01/18/2023     C NOTICE                                                                              No

                                       137.03 02/06/2023     C ORDER                                                                               No
                                                                RESULT: Granted 2/6/2023 HON EDWARD KRUMEICH
                                       138.00 02/01/2023     D CERTIFICATION OF SERVICE                                                            No
                                                                RE: Copy of Notice Sent of Court Hearing on Motion #137.00
                                       139.00 02/22/2023     D FORECLOSURE MEDIATION – PETITION FOR REINCLUSION                                    No
                                                                RESULT: Order 3/7/2023 HON JOHN KAVANEWSKY
                                       139.01 03/07/2023     C ORDER                                                                               No
                                                                RESULT: Order 3/7/2023 HON JOHN KAVANEWSKY
                                       140.00 03/01/2023     P FORECLOSURE MEDIATION - OBJECTION JD-CV-95                                          No
                                                                139.00
                                                                RESULT: Order 3/7/2023 HON JOHN KAVANEWSKY
                                       140.01 03/07/2023     C ORDER                                                                               No
                                                                RESULT: Order 3/7/2023 HON JOHN KAVANEWSKY
                                       141.00 04/12/2023     D MOTION FOR CONTINUANCE                                                              No
                                                                of 4/13 mediation on consent
                                                                RESULT: Granted 4/12/2023 HON ROBERT GENUARIO
                                       141.01 04/12/2023     C ORDER                                                                               No
                                                                RESULT: Granted 4/12/2023 HON ROBERT GENUARIO
                                       142.00 05/09/2023     C FORECLOSURE MEDIATOR'S REPORT                                                       No

                                       143.00 05/09/2023     C FORECLOSURE MEDIATOR'S FINAL REPORT - MEDIATION PERIOD                              No
                                                               TERMINATED


                                                                            Scheduled Court Dates as of 05/23/2023
                                        FST-CV18-6036479-S - WILMINGTON TRUST, NATIONAL ASSOCIATION, NOT IN ITS v. KRISHNA, SUNEETA P, AKA
                                                                        SUNEETA PRASAD AKA SUNEETA Et Al
                                         #    Date           Time             Event Description                                      Status
                                                                              No Events Scheduled


                                       Judicial ADR events may be heard in a court that is different from the court where the case is filed. To check
                                       location information about an ADR event, select the Notices tab on the top of the case detail page.

                                       Matters that appear on the Short Calendar are shown as scheduled court events on this page. The date
                                       displayed on this page is the date of the calendar.


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=FSTCV186036479S                                                               4/5
5/24/23, 10:11Case
              AM   23-05009           Doc 1-5           Filed 05/24/23    Entered
                                                                    Case Detail        05/24/23 11:28:27
                                                                                - FST-CV18-6036479-S                                               Page 5 of 5
                                       The status of a Short Calendar matter is not displayed because it is determined by markings made by the parties
                                       as required by the calendar notices and the civil standing orders. Markings made electronically can be viewed
                                       by those who have electronic access through the Markings History link on the Civil/Family Menu in E-Services.
                                       Markings made by telephone can only be obtained through the clerk’s office. If more than one motion is on a
                                       single short calendar, the calendar will be listed once on this page. You can see more information on matters
                                       appearing on Short Calendars by going to the Civil/Family Case Look-Up page and Short Calendars By Juris
                                       Number or By Court Location .

                                      Periodic changes to terminology that do not affect the status of the case may be made.

                                      This list does not constitute or replace official notice of scheduled court events.

                                      Disclaimer: For civil and family cases statewide, case information can be seen on this website for a period of
                                      time, from one year to a maximum period of ten years, after the disposition date. If the Connecticut Practice Book
                                      Sections 7-10 and 7-11 give a shorter period of time, the case information will be displayed for the shorter period.
                                      Under the Federal Violence Against Women Act of 2005, cases for relief from physical abuse, foreign protective
                                      orders, and motions that would be likely to publicly reveal the identity or location of a protected party may not be
                                      displayed and may be available only at the courts.


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                                                                                         Page Created on 5/24/2023 at 10:11:30 AM




https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=FSTCV186036479S                                                                                                5/5
